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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

NO. 6:09-CR-00016-2-DCR

UNITED STATES OF AMERICA                                                   PLAINTIFF


V.                            RECOMMENDED DISPOSITION

DOUGLAS C. ADAMS                                                           DEFENDANT

                                           *****
       The Court addresses a motion to suppress filed on behalf of Defendant Douglas Adams. See

DE #329. The United States responded in opposition, see DE #344, and the Court conducted a

plenary evidentiary hearing. See DE #355 Minute Entry Order. At the hearing, both sides had a full

opportunity to present proof and argument.

       The Court recommends that the District Judge DENY the motion to suppress. The

suppression effort is based on an alleged Miranda violation, but the statement Adams made, which

the defense now seeks to suppress, was not the result of custodial interrogation. Adams was in

custody, but he did not speak in response to improper questioning or its equivalent. As such, even

without Miranda warnings, the voluntary statement is immune from suppression.

       In this action, Adams, the Superintendent of the Clay County schools,1 faces RICO

conspiracy and money-laundering charges related to operation of the Clay County Board of

Elections from 2002 to 2007. He seeks to suppress a March 19, 2009 post-arrest, but pre-Miranda

statement allegedly made to Manchester Police Chief Jeff Culver. Culver, along with FBI agents,

effected Adams’s arrest on March 19 pursuant to a warrant from this Court.


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       He was Superintendent at the time of indictment.
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       The lone witness at the hearing was Chief Culver. Both parties examined him extensively,

and the Court recessed the hearing so that the United States could retrieve and provide Defendant

with a copy of a statement by Culver related to the matters at issue. The defense received the

statement and questioned Culver about it. Defendant Adams contemplated testifying, and the Court

specifically announced that it would adhere to Fed. R. Evid. 104(d) concerning cross-examination

limits, but the defense ultimately determined against calling Adams to the stand.

       Because only Chief Culver testified, his testimony and the admitted records provide the only

factual bases for decision. Per the hearing record, the Court notes:

        --     Culver participated in arresting Adams at the Board of Education offices around 8:30

               a.m. on March 19, 2009. Culver learned about the arrest sweep (involving all Co-

               Defendants in this case) on the evening prior, and the FBI employed eight members

               of the Manchester Police Department (MPD) for scene security, transport of

               prisoners to the processing center, and transport to London. Culver’s department

               provided a “marked unit” presence for the day, and he repeatedly characterized the

               MPD role as security and transportation. See DE #393 Transcript (“Tr.”), at 7-9.

       --      Culver and FBI SA Timothy Briggs apprehended Adams without incident at the

               Board of Education offices. Culver saw Adams with a group in or around a meeting

               room, and he called Adams out into a hallway. Briggs then arrested Adams. No one

               provided Adams with Miranda warnings until later in the morning, after the

               statement at issue in the hearing occurred. See id. at 9.

       --      Culver had no part in the FBI’s decision to involve him in Adams’s arrest. He had

               no familiarity with the Indictment in this case at the time of the arrest or during his


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           interaction with Adams on that day. The FBI assigned Culver to Adams at the “last

           moment,” see id. at 22, and Culver did not discuss with the FBI, prior to March 19,

           the depth or nature of any relationship he had with Adams. See id. at 24.

     --    Culver described his relationship with Adams as “mostly professional.” See id. at

           14. He clearly had some level of personal relationship with Adams. Culver had

           twice been “frog gigging” in a group with Adams sometime between 2006 and 2007.

           See id. at 69. Further, Culver and Adams shared close mutual acquaintances and the

           men had eaten together in public and private settings. See id. at 74-75. Culver has

           been to Adams’s home only once. See id. at 21. Culver has family members that

           worked either under Adams or in the County Clerk’s office. See id. at 10-11.

     --    In a semantic duel with defense counsel, Culver resisted characterizing Defendant

           as a close “friend” or agreeing that he had a “personal” connection to Adams, instead

           indicating that he viewed his connection as primarily business. See, e.g., id. at 74-

           77. He stressed that he and Adams may have been part of groups together, but that

           the men did not have a separate and distinct close personal friendship. Culver

           described professional interaction he has had with Adams through the years in

           Manchester. Culver agreed that Adams may perceive the two men as friends.

     --    Culver alone transported Adams to FCI Manchester for processing. The FBI had

           arranged to use that facility to manage the large group of defendants. The ride to the

           prison was brief – about 2 miles. See id. at 40. While in transit, Culver “apologized”

           to Adams and remarked that the situation was “awkward” for the Manchester police.

           See id. at 10. Adams allegedly responded by saying “he understood.” See id. The


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              situation was awkward, to Culver, because of the professional and family

              relationships present between local police and a large group of prominent defendants

              in a small county. See id. at 10-11. He said he spoke the words to break tension

              related to the arrest. See id. at 34.

       --     At FCI Manchester, Culver and others continued to provide security in a large,

              makeshift booking area. The defendants were all in a main room, segregated from

              each other. Some of the defendants, Adams included, asked for permission to

              smoke. Culver received permission to allow smoking in the FCI smoking area, with

              the defendants under continuing segregation and monitoring. Still pre-Miranda,

              Culver escorted Adams to the smoking area and accompanied Defendant while he

              smoked. See id. at 11-13.

       --     While Adams smoked, Culver at some point stated he’d “rather be frog gigging than

              us to be here under these circumstances.” See id. at 13. He again stated that he

              spoke the words as a “tension breaker” or as a way to “pass the time.” See id.

              Adams allegedly responded by saying, “I thought that the 2002 election was behind

              me. I did what I had to do.”2 See Government Exhibit 1; DE #393 Tr. at 14. This

              is the statement now at issue. Culver changed the subject after Adams made that

              statement, discussing his son’s upcoming graduation with an education degree.

              Culver did alert the FBI to the statement when he returned Adams to the main room

              after Defendant finished smoking.


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       Culver testified consistently with his written statement from March 19. See Government
Exhibit 1.

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       --      Culver denied he had any intent to elicit an incriminating statement from Adams.

               See id. at 16. The FBI had not directed him to seek information (or forbidden him

               from doing so). The time between the arrest (at 8:30 a.m., see Defense Exhibit 1,

               FBI 302) and the statement (at about 10:00 a.m., see Government Exhibit 1,3 Culver

               Statement) was 1.5 hours.

       --      Culver admitted on cross that he had participated in a 2002 police investigation

               related to Adams’s daughter. She apparently was involved with a person suspected

               of drug crimes, and Culver, with other police, had found the daughter and transported

               her to the police station. Culver had some interaction with Adams related to those

               events, but the witness described that interaction as wholly professional. See DE

               #393 Tr., at 25-29.

                                               ***

                                             Analysis

       The case presents a narrow issue. Relative to the statement at issue, the Government

concedes that a) Adams was in custody; and b) Adams had not received Miranda warnings. Thus,

the lone question is whether Adams’s statement regarding the 2002 election resulted from custodial

interrogation. Defendant has the burden of establishing that custodial interrogation occurred. See,

e.g., United States v. Stuemke, 493 F. Supp. 2d 990, 994 (S.D. Ohio 2006) (citing United States v.

Lawrence, 892 F.2d 80, 1989 WL 153161 (6th Cir. 1989) for proposition that “when a defendant


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       Interestingly, the United States did not produce the Culver statement in discovery. This is
consistent with treating the interaction producing the statement as non-interrogative. Rule 16
generally requires production if a statement results from interrogation. See FED. R. CRIM. P.
16(a)(1).

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seeks to suppress his statements on the basis that he was not given Miranda warnings, he has the

burden of proving . . . that he was entitled to those warnings, because he was subjected to a custodial

interrogation”). Here, the proof essentially is undisputed as to the salient events of March 19.

       The Supreme Court defined the interrogation arm of “custodial interrogation” in Rhode

Island v. Innis, 100 S. Ct. 1682 (1980). Miranda, of course, requires observation of prophylactic

protective measures in advance of custodial interrogation. See Miranda v. Arizona, 86 S. Ct. 1602,

1630 (1966). Innis addressed the meaning of “interrogation” in the Miranda context. The Supreme

Court held that interrogation extends both to “express questioning” and to “its functional

equivalent.” See Innis, 100 S. Ct. at 1689. The functional equivalent of express questioning is

“words or actions on the part of the police (other than those normally attendant to arrest and

custody) that the police should know are reasonably likely to elicit an incriminating response from

the suspect.” See id. at 1689-90. The intent of police is not irrelevant but is not paramount; the test

focuses “primarily upon the perceptions of the suspect.” See id. at 1690. Innis does not hold police

accountable for “unforeseeable results,” and the definition of interrogation extends “only to words

or actions . . . that [police] should have known were reasonably likely to elicit an incriminating

response.” See id. (emphasis original).

       Factually, Innis involved a suspect arrested for using a sawed-off shotgun to commit armed

robbery and murder. Police arrested the suspect but did not find the weapon. In transit to the

station, and post-Miranda, police in the squad car had a conversation within earshot of the suspect.

The suspect had asserted his right to counsel, and police were not addressing him directly. However,

the officers overtly discussed the community danger presented by a loaded shotgun and remarked,

“there’s a lot of handicapped children running around in this area, and God forbid one of them might


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find a weapon with shells and they might hurt themselves.” See id. at 1686. The suspect responded

with incriminating statements regarding the firearm location.

       The Supreme Court found that the discussion in the suspect’s presence was not interrogation.

Though the Court conceded that the discussion placed “subtle compulsion” on the suspect, the Court

rejected the idea that the “offhand remarks” of police were sufficiently “evocative” toward the

suspect. See id. at 1691. The Court refused to equate the “subtle compulsion” with interrogation,

finding that the actions and words of the police were not “reasonably likely to elicit an incriminating

response.” See id.

       Cases decided since Innis further define the interrogation boundary and instruct the Court’s

analysis. See, e.g., Arizona v. Mauro, 107 S. Ct. 1931, 1935 (1987) (rejecting notion that police, by

permitting overtly monitored jail discussion between suspect and wife, interrogated suspect; the

suspect made incriminating statements to wife in presence of police, but Court declined to label

police actions as interrogation); United States v. Hurst, 228 F.3d 751, 759 (6th Cir. 2000) (rejecting

Innis interrogation where suspect confronted with assertion, “‘we’ve got good information on

you’”); United States v. Payne, 954 F.2d 199, 201 (4th Cir. 1992) (analyzing confrontation of

suspect by police with incriminating evidence – “‘They found a gun at your house.’” The Payne

Court rejected a categorical analysis regarding such confrontation, found the statement “innocuous,”

and determined that the confrontation “was not one that sought or required a response.” See id. at

203.); Cort v. Parke, No. 88-5923, 1989 WL 47437, at *1-2 (6th Cir. May 9, 1989) (per curiam)

(Cort rejected interrogation argument where defendant was in custody, and officers confronted

defendant, pre-Miranda, with “‘Look, you just stabbed a young man up [the] street, up here, and

he’s probably going to die.’” The Court described the interaction as simply police explaining


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reasons for arrest; the Court rejected Innis interrogation.); Tucker v. Warden, Ohio State

Penitentiary, 175 F. Supp. 2d 999, 1004 (S.D. Ohio 2001) (rejecting Innis interrogation finding

where police made “‘offhand remarks’” to suspect including statement, “‘when this is all said and

done, I’d like to hear about what happened that day’”).

       Adams plainly fails to establish interrogation under Innis and the post-Innis cases. The

defense theory is that “Culver played upon his friendship with Adams to obtain statements by

Adams about the case. Specifically, Culver acted as though he was on Adams’ ‘side’ in the case,

purporting to be sympathetic with Adams’ cause and expressing reluctance to be involved in Adams’

arrest.” See DE #329-2 Supporting Memorandum, at 3. The defense contends that the cumulative

effect of the circumstances resulted in improper and unwarned interrogation.

       Culver did “apologize” to Adams and express the awkwardness created by the Manchester

PD’s arrest role on the date in question. Later, during a smoke break sought by Adams, Culver

noted that he’d rather be “frog gigging” than be at the prison under the circumstances at issue. In

response to the last comment, Adams made the alleged incriminating statement. However, on the

facts presented and clear law, that statement simply did not result from interrogation.

       Culver acted without intent to secure incriminating information. He testified to having no

such intent, and the circumstances do not impugn his motives. He did not work to be paired with

Adams, and the record does not indicate an intentional orchestration by the FBI. Further, the

comments Culver made to Adams in no way touched on evidence, case-related allegations, charges,

or guilt/innocence. Rather, Culver simply expressed his regret at the situation and the awkwardness

the situation created because of familiarity between the Manchester PD and the area defendants.

       Culver’s sentiments were just that, sentiments. He yielded to the common human inability


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to remain silent in the face of uncomfortable silence. See DE #393 Tr., at 13 (Culver noting that he

made the “frog gigging” comment in order to “[j]ust sort of pass the time, as maybe a tension

breaker or – you know, we had been frog gigging before in the past, and just to pass the time away”).

While apologizing to a defendant seems unusual, Culver explained the peculiar circumstances

behind the remark. Like the “frog gigging” comment, Culver expressed only that he wished he had

not been tasked with the duty before him. The relationship between Culver and Adams had marginal

personal components, but Culver hardly traded on his connections with Adams to gain information.

Culver concocted no ploy or subterfuge to override Adams’s will or circumvent Miranda.

       Adams’s response to Culver – referencing the election from 7 years prior – was not an

objectively foreseeable response to the “frog gigging” reference or other interactions with Culver.

Culver testified that Adams’s response was “no great surprise,” see DE #393 Tr., at 67; however,

Culver did immediately change the subject because he “didn’t want to talk about that [charges

against Adams].” See id. at 60. No objective officer should have known that the discussion or

situation was reasonably likely to elicit an incriminating response from Adams. No logical

connection exists between Culver saying he’d rather be “frog gigging” and Adams referencing the

2002 election. No officer should perceive that Culver’s statement would be reasonably likely to

produce evidence in the case.

       The defense likened the case to Brewer v. Williams, 97 S. Ct. 1232 (1977). Brewer is a Sixth

Amendment case, not a Fifth Amendment case. See Brewer, 97 S. Ct. at 1239 (analyzing not under

Miranda and Fifth Amendment but under Sixth Amendment); Fellers v. United States, 124 S. Ct.

1019, 1022-23 (2004) (noting that “we have expressly distinguished this standard [Sixth

Amendment] from the Fifth Amendment custodial-interrogation standard”). Though Brewer shares


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some language with the Innis-type inquiry, Innis itself stated it would be “erroneous” to suggest that

“the definition of ‘interrogation’ under Miranda is informed by this Court’s decision in Brewer[.]”

See Innis, 100 S. Ct. at 1689 n.4 (citation omitted). Brewer involved the famous “Christian burial

speech,” a premeditated, designed, and deliberate effort by police to gain incriminating information

from a defendant in violation of his Sixth Amendment rights. The Brewer Court called the actions

there at issue even more effective than “formal” interrogation. See Brewer, 97 S. Ct. at 1240.

Culver’s conduct has no parallels to that of the police in Brewer.

           It is not illegal for police to ease the tension for a suspect under arrest. The defense harshly

criticizes Culver for making statements designed as “tension breakers,” see DE #393 Tr., at 86-90,

but the defense does not criticize Culver for arranging an opportunity for the defendants to smoke.

See id. at 91. Innis forbids conduct police should know is likely to produce an incriminating

response; Innis does not require that police act with sterility and dispassion toward persons in

custody. The cases ensure that a defendant’s voluntary remarks, whenever made, fall outside the

Miranda boundary. If police conduct in Innis, Mauro, Payne, and Cort failed to qualify as

interrogation,4 then Culver’s benign commentary, which was limited, brief, guilt-neutral, non-

intensive, and casual, surely also fails. Adams faced no pressure or compulsion “beyond that

inherent in custody itself.” See Innis, 100 S. Ct. at 1689. Adams’s statement to Culver was

volunteered, and the motion to suppress should be DENIED.

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        Defense counsel, tongue-in-cheek, distinguished Innis, etc., by saying the cases referenced
got the analysis “wrong.” See DE #393 Tr., at 95. However, the defense seemed to contend that any
interaction between police and suspect, not normally associated with booking and processing, would
be interrogation under Innis. This goes too far. Innis excepted words or actions “normally attendant
to arrest and custody” from Miranda’s interrogation proscriptions altogether. See Innis, 100 S. Ct.
at 1689. Innis would analyze any other “words or actions” under its objective interrogation test.
See id.

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          The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of that statute. As defined by § 636(b)(1) and Fed.

R. Crim. P. 59(b), within ten days after being served with a copy of this recommended decision, any

party may serve and file written objections to any or all portions for de novo consideration by the

District Court. The parties should consult the aforementioned statute and rule for specific appeal

rights and mechanics. Failure to object in accordance with Rule 59(b) waives a party’s right to

review.

          This the 19th day of August, 2009.




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